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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

     KEMIN FOODS, L.C., and CATHOLIC
     UNIVERSITY OF AMERICA,

                Plaintiffs,
     v.                                  Case No. 8:07-cv-1308-T-33TGW

     OMNIACTIVE HEALTH TECHNOLOGIES,
     INC., and OMNIACTIVE HEALTH
     TECHNOLOGIES PRIVATE, LTD.,

               Defendants.
     ________________________________/

                                    ORDER

          This cause is before the Court pursuant to OmniActive

     Health Technologies, Inc.’s Motion for Summary Judgment of

     Noninfringement (Doc. # 103), which was filed on September 24,

     2008.1    Plaintiffs    responded   to   the   motion   for   summary

     judgment on January 16, 2009 (Doc. # 162), and Defendants

     filed a reply (Doc. # 188) on February 27, 2009. In addition,

     both sides have filed numerous claim construction briefs.

     (Doc. # 158, 161, 179, 181).     Thereafter, on August 20, 2009,

     the parties filed a joint claim construction stipulation.

     (Doc. # 244).




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           This Court referred the motion for summary judgement to
     the Magistrate Judge for the issuance of a Report and
     Recommendation on September 30, 2008. (Doc. # 109). The Court
     entered an order withdrawing the referral on May 22, 2009.
     (Doc. # 205).
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            The Court held a Markman hearing and oral argument on the

     motion for summary judgment on August 25, 2009. (Doc. # 250).

     Plaintiffs and Defendants filed supplemental briefs regarding

     claim construction and summary judgment on August 14, 2009.

     (Doc. # 238, 239).

     I.     Background

            Plaintiff Kemin Foods, L.C., is an Iowa limited liability

     company that develops purified lutein for human consumption.

     (Doc. # 83 at ¶ 10).        Kemin’s purified lutein is made using a

     patented process.         Specifically, on January 17, 1995, United

     States   Patent     No.    5,382,714       (the   “‘714   patent”),   titled

     “Process for Isolation, Purification and Recrystallization of

     Lutein from Saponified Marigold Oleoresin and Uses Thereof”

     was legally issued to inventor Frederick Khachik, Ph.D. (Id.

     at ¶ 14).     Plaintiff Catholic University of America is the

     owner, through assignment, of the ‘714 patent, and Plaintiff

     Kemin is the exclusive licensee of the ‘714 patent. (Id. at ¶

     15).

            OmniActive Health Technologies Private, Ltd. (hereafter

     “OmniActive India”) and OmniActive Health Technologies, Inc.

     (hereafter “OmniActive USA”) are the maker and distributor,

     respectively, of “Lutemax” and “Lutemax Free Lutein,” lutein

     products that compete with Plaintiffs’ lutein products.

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             Plaintiffs    learned       that     Defendants    supplied    lutein

     products to Medical Ophthalmics in the Middle District of

     Florida (particularly, Oldsmar), and believe that Defendants’

     “Lutemax” products infringe the ‘714 patent. (Doc. # 83 at ¶

     11).    Furthermore, Plaintiffs allege that Defendants falsely

     advertised     and    falsely       marked    certain     products    under   a

     different patent: U.S. Patent No. 6,743,953. (Id. at ¶ 12).

     Last,    Plaintiffs        argue    that     Defendants    made   false   and

     misleading claims in advertisements, marketing materials, and

     communications with customers about Kemin’s products.

             On   July    25,    2007,    Plaintiffs     filed     suit    against

     OmniActive USA. (Doc. # 1).             Plaintiffs thereafter filed an

     amended complaint against both OmniActive USA and OmniActive

     India alleging patent infringement of the ‘714 patent (count

     one), false marking (count two), false advertising (count

     three), violation of Florida Statute Section 817.41, which

     criminalizes false advertising (count four), violation of

     Florida Statute Section 501.201, the Florida Deceptive and

     Unfair Trade Practices Act (“FDUTPA”)(count five), violation

     of Florida Common Law of Unfair Competition (count six), and

     product disparagement (count seven). (Doc. # 83).

             On August 13, 2009, OmniActive India filed its answer,

     affirmative defenses, and counterclaims against Plaintiffs.

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     (Doc.   #   236).      OmniActive   India’s    counterclaims     against

     Plaintiffs include declaratory judgment of noninfringement and

     patent invalidity (counterclaim one), declaratory judgment of

     patent unenforceability (counterclaim two), unfair competition

     (counterclaims      three    and    four),    violation     of    FDUTPA

     (counterclaim five), and false patent marking (counterclaim

     six). (Doc. # 236).

     II.   Summary Judgment Proceedings

           OmniActive USA filed the motion for summary judgment

     (Doc. # 103) on September 24, 2008, arguing that “Plaintiffs

     cannot prove, and no reasonable jury could conclude, that the

     accused product, Lutemax Oil Suspension, contains all elements

     of any asserted patent claim.” (Doc. # 103 at 1).

           The motion for summary judgment is ripe for the Court’s

     review.     However, as discussed below, the Court must construe

     the claims in the ‘714 patent before it can address the issues

     raised in the motion for summary judgment.

     III. Legal Standard

           A.     Literal     Infringement    and     the      Doctrine    of

                  Equivalents

           “To establish infringement of a patent, every limitation

     set forth in a claim must be found in an accused product or



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     process exactly or by a substantial equivalent.”                         Becton

     Dickinson & Co. v. C.R. Bard, Inc., 922 F.2d 792, 796 (Fed.

     Cir.    1990)(citation           omitted).         In     adjudging      patent

     infringement cases, the Court performs two steps: “First, a

     court must determine as a matter of law the correct scope and

     meaning of a disputed claim term.” CCS Fitness, Inc. v.

     Brunswick      Corp.,      288   F.3d    1359,   1365   (Fed.     Cir.   2002).

     Second, the Court compares “the properly construed claims to

     the accused device, to see whether that device contains all

     the limitations, either literally or by equivalents, in the

     claimed invention.” Id.

            Literal infringement requires that the accused device

     contain each and every limitation of a claim.                   Frank’s Casing

     Crew & Rental Tools, Inc. v. Weatherford Int’l, Inc., 389 F.3d

     1370, 1378 (Fed. Cir. 2004).             The doctrine of equivalents, on

     the    other    hand,      “prevents    competitors     from     pirating   the

     essence of an invention while narrowly avoiding the literal

     language       of   the    claims.”     H2Ocean,   Inc.    v.    Schmitt,   No.

     3:05cv387/RV/EMT, 2007 U.S. Dist. LEXIS 59720, *3 (N.D. Fla.

     Aug. 15, 2007).           The doctrine of equivalents “is intended to

     prevent a competitor from making merely insubstantial changes

     to the patented product and passing it off as a new product.”

     Id.



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          The doctrine of equivalents applies if each limitation of

     the claim is equivalently present in the accused device.

     Zodiac Pool Care, Inc. v. Hoffinger Indus., Inc., 206 F.3d

     1408, 1415 (Fed. Cir. 2000) (citations omitted). “Equivalently

     present” means “there must be only ‘insubstantial differences’

     between the missing claim limitation and corresponding aspects

     of the accused device.” Id.

          B.    Claim Construction

          Construing claims, including a claim’s terms of art, is

     within the court’s exclusive province. Markman v. Westview

     Instruments,    Inc.,   517   U.S.    370,   376   (1996).    “Claim

     construction begins with an examination of the ‘intrinsic

     evidence’: the claims themselves; the patent specification,

     which includes the remainder of the written and graphic

     description of the invention in the patent; and the patent

     prosecution history, which includes the patent application and

     correspondence between a patentee and the Patent and Trademark

     Office examiners reviewing the application.”         Guardian Pool

     Fence Sys., Inc. v. Baby Guard, Inc., 228 F.Supp.2d 1347, 1353

     (S.D. Fla. 2002) (citation omitted). Extrinsic evidence, such

     as expert testimony or treatises, may also be considered in

     determining the scope and meaning of a claim term. Id.

          No formal claim construction hearing is required at the



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     summary judgment stage if the issues on which the summary

     judgment motion turns can be otherwise resolved. See H2Ocean,

     at *3.   The Federal Circuit holds:

          Markman does not require a district court to follow
          any particular procedure in conducting claim
          construction.     It merely holds that claim
          construction is the province of the court, not a
          jury. . . . If the district court considers one
          issue to be dispositive, the court may cut to the
          heart of the matter and need not exhaustively
          discuss all the other issues presented by the
          parties. District courts have wide latitude in how
          they conduct the proceedings before them, and there
          is nothing unique about claim construction that
          requires the court to proceed according to any
          particular protocol. As long as the trial court
          construes the claims to the extent necessary to
          determine whether the accused device infringes, the
          court may approach the task in any way that it
          deems best.

     Ballard Med. Prods. v. Allegiance Healthcare Corp., 268 F.3d

     1352, 1358 (Fed. Cir. 2001).

          Although an infringement analysis typically begins with

     claim construction, “the sequence of this process is not

     absolute, and, in an effort to avoid advisory opinions, only

     terms that are disputed, thereby placing such terms actually

     in controversy in the infringement litigation, are construed.”

     Mextel, Inc. v. Air-Shields, Inc., No. Civ. A. 01-CV-7308,

     2005 U.S. Dist. LEXIS 1281, *142 (E.D. Pa. Jan. 31, 2005)

     (citing Unitherm Food Sys., Inc. v. Swift-Eckrich, Inc., 375

     F.3d 1341, 1350 (Fed. Cir. 2004)).



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          “Furthermore, the lack of an express claim construction

     by the Court does not absolve plaintiffs of their burden at

     the summary judgment stage to provide factual support for the

     conclusion that each and every limitation in the germane

     claims of the . . . patent[] reads on the accused device[].”

     Mextel, at *143 (citing Linear Tech. Corp. v. Impala Linear

     Corp., 379 F.3d 1311, 1325 (Fed. Cir. 2004)).

          C.        Summary Judgment

              The    Federal   Circuit   set    forth   the   standard   for

     evaluating summary judgment in patent cases in Novartis Corp.

     v. Ben Venue Labs., Inc., 271 F.3d 1043, 1046 (Fed. Cir.

     2001):    “Summary     judgment     is    appropriate    when,   after

     opportunity for discovery and upon motion, there is no genuine

     dispute of material fact for trial and one party is entitled

     to judgment as a matter of law.” Id.          “Summary judgment must

     be granted against a party who has failed to introduce

     evidence sufficient to establish the existence of an essential

     element of that party’s case, on which the party will bear the

     burden of proof at trial.” Id.

          “Summary judgment is appropriate when it is apparent that

     only one conclusion as to infringement could be reached by a

     reasonable jury.” Telemac Cellular Corp. v. Topp Telecom,

     Inc., 247 F.3d 1316, 1323 (Fed. Cir. 2001). Further, “summary

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     judgment of noninfringement is appropriate where the patent

     owner’s proof is deficient in meeting an essential part of the

     legal standard for infringement, since such failure will

     render all other facts immaterial.” Id.

            The    summary      judgment        movant       has     the      initial

     responsibility of identifying the legal basis of its motion

     and of pointing to those portions of the record that it

     believes     demonstrate    the      absence   of   a    genuine      issue   of

     material fact.     Celotex Corp v. Catrett, 477 U.S. 317, 323

     (1986). Once the movant has made this showing, the burden

     shifts to the nonmovant to designate specific facts showing

     that there is a genuine issue for trial. Id. at 324.

            Since the ultimate burden of proving infringement rests

     with   the   patentee,     an   accused     infringer         seeking    summary

     judgment      of   noninfringement          may      meet       its      initial

     responsibility     either       by   providing      evidence      that    would

     preclude a finding of infringement, or by showing that the

     evidence on file fails to establish a material issue of fact

     essential to the patentee’s case.              Vivid Tech, Inc. v. Am.

     Sci. & Eng’g., Inc., 200 F.3d 795, 807 (Fed. Cir. 1999).

     “Summary judgment of noninfringement may only be granted if,

     after viewing the alleged facts in the light most favorable to

     the nonmovant and drawing all justifiable inferences in the

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     nonmovant’s favor, there is no genuine issue whether the

     accused device is encompassed by the patent claims.” Novartis

     Corp., 271 F.3d at 1046.

     IV.    The ‘714 Patent: Claim Construction

            Defendants move for summary judgment of noninfringement

     of    the   ‘714   patent.    Plaintiffs    accuse   Defendants    of

     infringing claims 1, 2, and 4 of the ‘714 patent.2

     Claims 1, 2, and 4 follow:

            1.    The    carotenoid   composition    consisting
                  essentially of substantially pure lutein
                  crystals derived from plant extracts that
                  contain lutein, said lutein crystals being of
                  the formula: [formula deleted]
                  wherein the lutein is substantially free from
                  other carotenoids and chemical impurities
                  found in the natural form of lutein in the
                  plant extract.
            2.    The lutein carotenoid composition of claim 1
                  wherein the plant extract is derived from
                  naturally occurring plants selected from the
                  group consisting of fruits, vegetables and
                  marigolds.
            4.    The lutein carotenoid composition of claim 1
                  wherein the lutein is derived from marigold
                  flower extract.

            The motion for summary judgment cannot be decided until

     the Court construes claim 1.

            A.    The PIVEG Litigation



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           All of the disputed claim language appears in claim 1
     because claim 1 is an independent claim, and claims 2 and 4
     are dependent on claim 1. (Doc. # 244 at 1).

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           The Court must determine the meaning of disputed language

     in claim 1.    Both Plaintiffs and Defendants agree that prior

     litigation known as the “PIVEG” litigation is relevant to, but

     not completely dispositive of, the parties’ dispute.

           Kemin initiated the PIVEG litigation on July 9, 2002,

     when it filed a complaint against Pigmentos Vegetales Del

     Centro, S.A. (“PIVEG”), a Mexican manufacturer of purified

     lutein, alleging, among other things, patent infringement of

     claims 1, 2, and 4 of the ‘714 patent.        Kemin also moved for

     a preliminary injunction against PIVEG, which the district

     court granted on January 2, 2003.           Kemin Foods, L.C. v.

     Pigmentos Vegetales Del Centro, S.A., 240 F.Supp.2d 963, 982

     (S.D. Iowa 2003).

           Thereafter, the district court held a Markman hearing and

     issued its initial claim construction order on January 13,

     2004, construing claim 1 as follows:

           One of ordinary skill in the art would understand
           the plain meaning of claim 1 of the ‘714 patent to
           provide for a carotenoid composition consisting
           essentially of substantially pure lutein crystals,
           where ‘substantially pure’ refers to the lutein
           purity as compared to the carotenoid composition
           and requiring purity that is 90% or greater, as
           measured   by   UV/visible  spectrophotometry   in
           conjunction with HPLC, and/or otherwise suitable
           for human consumption.

     Kemin Foods, L.C. v. Pigmentos Vegetales Del Centro, S.A., 301


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     F.Supp.2d 970, 988-89 (S.D. Iowa 2004).

           In March 2004, the Federal Circuit reversed the district

     court’s grant of a preliminary injunction. Kemin Foods, L.C.

     v. Pigmentos Vegetales Del Centro, S.A., 93 F. App’x 225 (Fed.

     Cir. Mar. 17, 2004).        In the order reversing the preliminary

     injunction, the Federal Circuit commented on the district

     court’s claim construction. Specifically, the Federal Circuit

     determined that it was “error for the [district] court to have

     read the limitation ‘suitable for human consumption’ into the

     claims, either as an alternative to the 90% minimum or in

     conjunction with it.”         Id. at 232.      Further, the Federal

     Circuit found that the claimed composition must contain “no

     traces of toxic chemicals.” Id.

           On May 18, 2004, the district court amended its claim

     construction    so   that    it   would   comport   with   the   Federal

     Circuit’s specifications.         Kemin   Foods,    L.C.   v.   Pigmentos

     Vegetales Del Centro, S.A., 319 F.Supp.2d 939, 943 (S.D. Iowa

     2004).    Thereafter, on February 8, 2005, the district court

     issued its final claim construction, which follows:

           The composition covered in claim 1 consists of
           lutein greater than about 90% pure, having
           significantly less than 10% of other carotenoids,
           and no traces of toxic chemicals. Lutein purity is
           to be measured as related to the carotenoid
           composition and is determined by UV/visible
           spectrophotometry in conjunction with HPLC.

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     357 F.Supp.2d 1105, 1122 (S.D. Iowa 2005), aff’d in relevant

     part, 464 F.3d 1339 (Fed. Cir. 2006). Notably absent from the

     final       claim   construction       is       any   discussion     of   what   is

     “suitable for human consumption.”

             After a trial, a jury determined that claims 1, 2, and 4

     of the ‘714 patent were valid, but that PIVEG did not infringe

     the   patent        either    literally         or    under    the   doctrine    of

     equivalents. Kemin Foods, L.C. v. Pigmentos Vegetales Del

     Centro, S.A., 357 F.Supp.2d 1105, 1122-24 (S.D. Iowa 2005).

     On    appeal,       the    Federal    Circuit         upheld   the   verdict     of

     noninfringement. Kemin Foods, L.C. v. Pigmentos Vegetales Del

     Centro, S.A., 464 F.3d at 1349.                  The Federal Circuit did not

     alter the district court’s final claim construction.

             The   Court       accepts    the    district     court’s     final   claim

     construction in the PIVEG litigation as enumerated above;

     however, the Court cannot rest on such construction because

     the parties disagree about the meaning of the following terms:

     “lutein;” “substantially pure;” “substantially free from other

     carotenoids and chemical impurities found in the natural form

     of lutein in the plant extract;” and “no traces of toxic

     chemicals.”3


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             The terms “lutein;” “substantially pure;” and
     “substantially free from other carotenoids and chemical

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                 1.    “Lutein”

           The parties disagree as to what “Lutein” means for the

     purposes of measuring lutein purity.           Plaintiffs contend that

     “Lutein” includes all isomers of lutein.                 As explained by

     Plaintiffs,      “Lutein   is   lutein.”       (Doc.    #   161    at   15).

     Defendants, on the other hand, assert that “Lutein” means only

     “trans-lutein” also known as “e-lutein.”               In support of this

     proposition,     Defendants     note    that    the     inventor    defines

     “lutein” as “trans-lutein” or “e-lutein.”

           While the ‘714 patent states at one point, “Unless

     specified lutein refers to all -E (all-trans) isomer” (‘714

     patent, Column 1, Lines 40-41), the patent later uses the term

     “lutein” to refer to all isomers of lutein. (‘714 patent,

     Column 6, Lines 44-45; Column 7, Lines 26-42).4

           Furthermore, the Court realizes that the language of

     claim 1 uses a depiction of a lutein isomer that happens to be

     trans-lutein.      However, all isomers of lutein bear the same

     formula.    As explained in the report of Steven J. Schwartz,



     impurities found in the natural form of lutein in the plant
     extract;” are terms in claim 1. The term “no traces of toxic
     chemicals” is a term that evolved from the construction of
     claim 1 in the PIVEG litigation.
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           The ‘714 patent has been filed with the Court and is
     located at Doc. # 163-2.

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     Ph.D., “The ‘714 patent refers to a formula for lutein that

     includes all geometrical isomers.          An organic chemist of

     ordinary skill would understand the formula for lutein to

     include all cis and trans isomeric forms.” (Dr. Schwartz

     Report, Doc. # 164 at 6).       The purity calculation should be

     based on the percentage of lutein and not based only on the

     percentage of trans-lutein.

           The Court adopts Plaintiffs’ position on this point. All

     lutein isomers have the exact chemical formula as claimed in

     claim 1 of the ‘714 patent; they differ only in the way those

     chemical elements are arranged in three-dimensional space.

     (Doc. # 161 at 15).     Thus, “Lutein” as used in claim 1 is all

     isomers of lutein, and not just “trans-lutein.”

                 2.   “Substantially pure” and “substantially free

                      from other carotenoids and chemical impurities

                      found in the natural form of lutein in the

                      plant extract”

           To ascertain what the claim terms “substantially pure”

     and “substantially free from other carotenoids and chemical

     impurities found in the natural form of lutein in the plant

     extract” mean, the Court must determine how lutein purity is

     measured.



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           Plaintiffs assert that the phrases “substantially pure”

     and “substantially free from other carotenoids and chemical

     impurities” must be read together and that, together, these

     phrases mean that “(1) lutein makes up at least 90% of the

     total      carotenoids    that    are    contained     in    the    lutein

     composition, and (2) the proportion of non-caroteniod chemical

     impurities     compared    to    total   carotenoids    in    the   lutein

     composition is sufficiently small to permit crystallization of

     the composition.” (Doc. # 244 at 3).

           Defendants, on the other hand, argue that the 90% lutein

     purity is measured in relations to the crystals as a whole,

     not just the carotenoid composition of those crystals. (Doc.

     # 103 at 21-22).         Thus, Defendants request that the Court

     consider     noncarotenoids,      such   as   fats    and    waxes,   when

     evaluating lutein purity.

           In the PIVEG litigation, the alleged infringer advanced

     an argument that is very similar to Defendants’ argument in

     the present case, which the district court in PIVEG rejected.

     The district court in the PIVEG case held that the phrase

     “substantially pure lutein” must refer to “an amount of lutein

     in   the    ‘carotenoid    composition.’”     Kemin    Foods,      L.C.   v.

     Pigmentos Vegetales del Centro S.A., 301 F.Supp.2d 970, 985

     (S.D. Iowa 2004).        The court explained:

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           Claim construction insists that “the same word
           appearing in the same claim should be interpreted
           consistently.” Digital Biometrics, Inc. v. Identix,
           Inc., 149 F.3d 1335, 1345 (Fed. Cir. 1998). The
           language of claim 1 states: “The carotenoid
           composition consisting essentially of substantially
           pure lutein crystals derived from plant extracts.”
           This clearly indicates that “substantially pure
           lutein” must refer to an amount of lutein in the
           “carotenoid composition.” This contradicts PIVEG’s
           interpretation which would include measurement of
           lutein against all other materials present and
           would not be limited to other carotenoids present.
           Contrary to PIVEG’s assertions, the three phrases
           are not actually separate but together indicate the
           protected level of lutein purity in the carotenoid
           composition. Thus, lutein purity is to be measured
           as related to the carotenoid composition and the
           claim requires the lutein to be substantially free
           from other carotenoids and chemical impurities.

     301 F.Supp.2d at 985 (emphasis in original).

           This Court agrees that, when evaluating lutein purity,

     the Court should consider the percentage of lutein against the

     percentage of other carotenoids. Residual plant matter, fatty

     acids, and waxes that are not carotenoids are not to be

     considered in the “carotenoid composition.”

           In a similar argument, Defendants contend that non-

     carotenoids (the same residual plant matter, fatty acids, and

     waxes) can undermine the lutein purity of a lutein crystal.

     Plaintiffs respond that the inventor, Dr. Khachik, recognized

     that lutein crystallization typically removes some, but not

     all, of these harmless “background” plant constituents.            In


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     fact,       a   lutein    crystal   can    have    up   to     30%    of   these

     noncarotenoid constituents. (Dr. Khachik Dep., Doc. # 181-5,

     Ex. D at 65-71).5

             The Court agrees with Plaintiffs that if Defendants’

     claim construction on the issue of lutein purity were adopted,

     “nobody would be practicing under the ‘714 patent, including

     Kemin.” (Doc. # 181 at 13).                It cannot be disputed that

     Plaintiffs’ as well as Defendants’ lutein products contain the

     aforementioned noncarotenoid plant materials in meaningful

     quantities. As stated by Zoraida DeFreitas, Ph.D., “if lutein

     purity were measured against the total mass of the purified

     product, as OmniActive advocates, Kemin’s own free lutein

     products would have only 74.4 to 80% lutein purity.” (Dr.

     DeFreitas Decl. at ¶ 5, Doc. # 181-6 at Ex. E).                      Thus, under

     Defendants’ proposed construction, Kemin’s own products would

     not fall within the ambit of Plaintiffs’ patent.

             The     Federal     Circuit       explains      that     “[A]      claim

     interpretation that would exclude the inventor’s device is

     rarely the correct interpretation.”               Modline Mfg. Co. v. U.S.

     Int’l Trade Comm’n, 75 F.3d 1545, 1550 (Fed. Cir. 1996),



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           However, at 49% noncarotenoid constituents, there would
     be no crystal. (Dr. Khachik Dep. Doc. # 181, Ex. D at 65-71).


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     abrogated on unrelated grounds by Festo Corp. v. Shoketsu

     Kinzoku Kogyo Kabushiki Co., 234 F.3d 558 (Fed. Cir. 2000).

     Stated another way, patent claims should not be construed in

     a manner that excludes the very invention that the patent was

     intended to protect. Osram GmbH v. Int’l Trade Com’n, 505 F.3d

     1351,     1358    (Fed.   Cir.   2007)(rejecting   proposed    claim

     construction because it “would exclude the OSRAM products that

     the patents were designed to cover”).

             After due consideration, the Court adopts Plaintiffs’

     position as follows:

             The phrases “substantially pure” and “substantially
             free from other carotenoids and chemical impurities
             found in the natural form of lutein in the plant
             extract” must be read together.     Together, these
             phrases mean that (1) lutein makes up at least 90%
             of the total carotenoids that are contained in the
             lutein composition, and (2) the proportion of non-
             carotenoid chemical impurities compared to the
             total carotenoids in the lutein composition is
             sufficiently small to permit crystallization of the
             composition.

     (Doc. # 244 at 3).

                  3.    “No Traces of Toxic Chemicals”

             In the jointly submitted claim construction stipulation,

     the parties set forth their differing positions regarding “no

     traces of toxic chemicals” as follows:

             OmniActive’s   position:   “No  traces   of   toxic
             chemicals” means no detectable amounts of any toxic
             chemicals as measured by methods known to persons

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           of ordinary skill in the art at the time the patent
           application was filed in 1994.
           Kemin’s position: “No traces of toxic chemicals”
           means no detectable amounts of any toxic chemicals
           as measured by a method that would have been used
           in 1994 by a person of ordinary skill in the art
           who was preparing a product suitable for human
           consumption.

     (Doc. # 244 at 2).

           The parties have come a long way toward reaching an

     agreement concerning what “no traces of toxic chemicals”

     means.    Originally, Defendants asserted that “no traces of

     toxic chemicals” meant exactly that – no traces of any toxic

     chemicals    using   a    state-of-the-art      method   of   detection

     available    in   2008.     At   this   point    in   the   litigation,

     Defendants have retreated from this argument.

           The parties appear to agree that the level of detection

     for toxic chemicals, including hexane, should be measured by

     the science that was available to a person of ordinary skill

     in the art in 1994.6       The Court agrees with the parties on



           6
            The parties take varying positions throughout their
     filings concerning whether the applicable year is 1993 or,
     rather, 1994. For instance, in Plaintiffs’ claim construction
     brief filed on February 17, 2009, Plaintiffs focus on 1993.
     (Doc. # 181 at 19).     In the parties’ stipulation on claim
     construction, the parties agree that 1994 is the relevant
     year. (Doc. # 244 at 2). The Court determines that 1994 is
     the applicable year because that is the year that the parties
     agreed to in the most recent, stipulated filing. (Doc. # 244).


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     this point.



           The Federal Circuit explained in SmithKline Beacham Corp.

     v. Apotex Corp., 403 F.3d 1331, 1338 (Fed. Cir. 2005)(en

     banc), “The court [must] place the claim language in its

     proper   technological    and     temporal      context.”      It   is   not

     appropriate to apply a level of detection threshold considered

     to be state of the art in 2009, to an invention formed in

     1994. San Huan New Materials High Tech, Inc. v. U.S. Int’l

     Trade Comm’n, 161 F.3d 1347 (Fed. Cir. 1998). See also

     Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005)(en

     banc)(“We   have   made   clear    .    .   .   that   the   ordinary    and

     customary meaning of a claim term is the meaning that the term

     would have to a person of ordinary skill in the art in

     question at the time of the invention, i.e., as of the

     effective filing date of the patent application”).

           However, the Court must delve deeper into the analysis.

     Looking closely at the parties’ respective positions, the

     Court determines that there are three issues within the term

     “no traces of toxic chemicals” that the parties continue to

     dispute: (1) whether the Court must take into consideration

     what is “suitable for human consumption,” (2) whether an

     ordinary person would either “use” or “know” of the method of

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     detection    for    toxic       chemicals,     and   (3)   what    method    of

     detection applies.

                         i.     Suitable for Human Consumption

           Defendants     argue       that   what    is   “suitable     for    human

     consumption” does not factor into the determination of what

     “no traces of toxic chemicals” means.

           In Plaintiffs’ initial brief and reply brief on claim

     construction       (Doc.    #    161,   181),    Plaintiffs       never    once

     requested that “suitable for human consumption” be added into

     the definition of “no traces of toxic chemicals.”                   Instead,

     Plaintiffs     argued       in    their      initial   and    reply       claim

     construction briefs “the term ‘no traces of toxic chemicals’

     means ‘no traces of toxic chemicals taking into account the

     limits of detection for a method that would have likely been

     relied upon by an organic chemist for that product in 1993.’”

     (Doc. # 161 at 20; Doc. # 181 at 19).

           As far as this Court can ascertain, Plaintiffs inserted

     “suitable for human consumption” on the eve of the Markman

     hearing in the parties claim construction stipulation. (Doc.

     # 244 at 2).       During the Markman hearing, Plaintiffs pointed

     to many references in the ‘714 patent that discuss the

     necessity for creating lutein that is suitable for human

     consumption: “To date, pure lutein suitable for human use has

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     not been commercially available for use as a chemopreventive

     agent in clinical trials.       Pure lutein, free from chemical

     contaminants and suitable for human consumption, is needed to

     design and conduct proper human intervention studies.” (‘714

     patent Column 2, Lines 5-10) (emphasis added).              “Another

     objective of the present invention is to provide purified

     lutein in crystalline form such that it is acceptable for

     human consumption and use in cancer prevention trials and

     treatments without causing toxic side effects due to residual

     impurities.” (‘714 patent Column 3, Lines 17-21) (emphasis

     added).

           Nevertheless, the Federal Circuit expressly stated in the

     PIVEG case that it was “error” for the district court to

     include the “suitable for human consumption” language in its

     construction of claim 1 of the ‘714 patent. Kemin Foods, L.C.

     v. Pigmentos Vegetales Del Centro, S.A., 93 F. App’x 225, 232

     (Fed. Cir. Mar. 17, 2004).        The district court, in PIVEG,

     modified its claim construction by deleting “suitable for

     human consumption” and the Federal Circuit affirmed. 357

     F.Supp.2d 1105, 1122 (S.D. Iowa 2005), aff’d in relevant part,

     464 F.3d 1339 (Fed. Cir. 2006).

           Since the beginning of this case, Plaintiffs have argued

     that this Court should follow the PIVEG claim construction.

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     This Court is not inclined to insert “suitable for human

     consumption” into the definition of “no traces of toxic

     chemicals”    in   derogation   of        the   Federal    Circuit’s   clear

     instructions.

                        ii.   “Known” or “Used”

           In the context of determining how persons of ordinary

     skill in the art would go about detecting toxic chemicals,

     such as hexane, the parties disagree as to whether the

     chemicals    are   detected   by   “methods        known    to   persons   of

     ordinary skill in the art” or whether such chemicals are

     detected by “a method that would have been used” by a person

     of ordinary skill in the art. (Doc. # 244 at 2)(emphasis

     added).

           As posited by Plaintiffs, “the dispute boils down to a

     choice between the theoretically best available method as

     opposed to the method actually used by persons of ordinary

     skill in the art at the time of the invention.” (Doc. # 239 at

     3)(emphasis in original). In support of the argument that “no

     traces of toxic chemicals” means “no detectable amounts of any

     toxic chemicals as measured by a method that would have been

     used in 1994 by a person of ordinary skill in the art                . . .,”

     Plaintiffs persuasively contend that “a person of ordinary

     skill in making purified lutein under this patent would use a

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     readily available testing method that was sufficient to make

     sure the product was suitable for its stated goals. She or he

     would not research endlessly to determine if some better

     technology existed somewhere in the world that, with unlimited

     time and resources, she or he might be able to access.” (Doc.

     # 239 at 5).

           The   Court   is   persuaded    by   Plaintiffs’   common   sense

     approach to this issue.      Defendants’ arguments on this point

     -- that toxic chemicals should be measured by a method “known”

     -- are nebulous and could lead to confusion in this already

     complex case. Defendants will have an opportunity to argue to

     the jury that their proffered method of detecting toxic

     chemicals would have been “used” by a person of ordinary skill

     in the art in 1994.7


           7
            Without determining which method of detecting toxic
     chemicals applies, the Court determines that persons of
     ordinary skill in the art would likely “know” of several
     methods for detecting toxic chemicals, ranging from the most
     simple (such as using the human senses of sight, touch, smell,
     and taste) to the most complex (likely some variation of gas
     chromatography mass spectrometry (GC-MS) coupled with flame
     ionization detection (GC-FID)). As stated by Dr. Schwarz,
     “Many methods have been developed to measure residual solvent
     concentrations,   and   therefore,    methods   with   varying
     sensitivities have been published in the scientific
     literature.” (Dr. Schwartz Report, Doc. # 164 at 25). A person
     of ordinary skill in the art would likely not use the most
     advanced, expensive, or cutting-edge method of detection in
     every situation.    For instance, Dr. Khachik used nuclear
     magnetic resonance (NMR) to test for hexane. Dr. Khachik’s

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                      iii. Method of Detection

           The last point of contention regarding the definition of

     “no traces of toxic chemicals” concerns how a person of

     ordinary skill in the art would go about detecting toxic

     chemicals, namely hexane.       Although the parties have fully

     briefed the issue, the Court declines to address it at this

     juncture.   A jury, rather than this Court, should decide what

     method would have been used in 1994, by the person of ordinary

     skill in the art who was preparing a purified lutein product.8

     After the jury makes this factual determination, the Court

     will be able to answer the question of “how much hexane must

     be present to take a lutein product outside the scope of the

     ‘714 patent.” (Doc. # 239 at 2).

           Accordingly, the Court clarifies the term “no traces of

     toxic chemicals” to mean no detectable amounts of any toxic

     chemicals as measured by a method that would have been used in

     1994, by a person of ordinary skill in the art.


     “educated guess is that this method had a limit of detection
     of 30-40 parts per million. The jury must determine what
     method a person of ordinary skill in the art would use to
     detect toxic chemicals in 1994, when making purified lutein.
           8
           Plaintiffs agree that this issue should be left to the
     jury, and Plaintiffs argue “OmniActive appears to want this
     Court to decide fact questions under the guise of claim
     construction.” (Doc. # 181 at 2). The Court will not invade
     the province of the jury by deciding factual issues.

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     V.    Factual Issues Precluding Summary Judgment

           Defendants   assert   a    judgment   of   noninfringement   is

     appropriate because their products (1) contain hexane (a toxic

     chemical) and (2) contain lutein crystals that are less than

     80% pure.    However, after due consideration of the file, the

     Court determines that a summary judgment of noninfringement in

     Defendants’ favor is not appropriate.        As stated in Novartis

     Corp., 271 F.3d 1043, 1046 (Fed. Cir. 2001): “Summary judgment

     is appropriate when, after opportunity for discovery and upon

     motion, there is no genuine dispute of material fact for trial

     and one party is entitled to judgment as a matter of law.” Id.

     Defendants have not met their burden.

           A.    Laboratory Testing of Defendants’ Products

           Plaintiffs argue that there is sufficient evidence from

     which a reasonable jury could find that Defendants infringed

     claim 1 of the ‘714 patent.       Specifically, Plaintiffs argue,

     a reasonable jury could determine (1) that Defendants sold

     purified lutein products in the United States where the lutein

     is greater than about 90% pure as related to the carotenoid

     composition, and (2) that those products have no traces of

     hexane that would have been detected by a person of ordinary

     skill in the art in 1994.       Plaintiffs provided the Court with

     volumes of reports in support of their position, including,

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     but not limited to reports from Covance and Alliance Labs as

     well as Defendants’ self-reporting documents.

           Concerning lutein purity, Dr. Schwartz has reviewed the

     lab reports and provides the following summary:

           Analytical   results  performed   by  Covance   of
           OmniActive products were discovered to contain a
           lutein carotenoid composition of greater than 90%
           and significantly less than 10% other carotenoids.
           Specific   batches   are   Lutemax   Free   Lutein
           OilSuspension containing 94.0% lutein and 6.0%
           other carotenoids (Sample Code PDO/070305, Item
           Code 26507, Covance Ex. 3) and Free Lutein
           Vegetarian Beadlets containing 92.2% lutein and
           7.8% other carotenoids (Sample Code PD 260207151).

           Analytical    results    performed   by    Alliance
           Technologies LLC, of OmniActive beadlets (Lot #
           MRLB-122A) showed a lutein purity of 93.8% and 6.2%
           of other caroteniods (Report Alliance Technologies,
           December 12, 2008).

           OmniActive’s Certificates of Analysis cite lutein
           content of greater than 90% for Lutemax Free Lutein
           Oil Suspension . . . and Lutemax Free Lutein
           Crystal. . . .

           Results of Kemin Health Laboratories analysis of
           OmniActive’s Lutemax Free Lutein Oil Suspension
           (Sample   Code   PD-050109)  indicate  a   lutein
           carotenoid composition of 91.4% and 8.6% of other
           caroteniods (KEM102414-KEM102415).

           Results of independent analytical testing conducted
           by   Dr.   Carr  indicate   a   lutein   carotenoid
           composition at 92.3 percent and significantly less
           than 10% of other carotenoids.

     (Dr. Schwartz Report, Doc. # 164 at 19-20).

           Dr. Schwartz also provides a detailed analysis of hexane


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     content in Defendants’ products. (Dr. Schwartz Report, Doc. #

     164 at 42).

           The lab reports analyzing Defendants’ products are only

     one piece of the puzzle.      The Court has reviewed the reports

     in question but determines that it is appropriate to deny

     summary judgment because factual issues preclude a finding of

     noninfringement.

           Among other things, a jury must determine how a person of

     ordinary skill in the art would go about detecting hexane or

     other toxic chemicals in a purified lutein product in 1994.

     Upon due consideration, the Court finds that a jury, rather

     than this Court, must determine whether Defendants’ products

     infringe the ‘714 patent.

           Accordingly, it is

           ORDERED ADJUDGED and DECREED that:

           OmniActive Health Technologies, Inc.’s Motion for Summary

     Judgment of Noninfringement (Doc. # 103) is DENIED.

           DONE and ORDERED in Chambers in Tampa, Florida, this 27th

     day of September 2009.




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     Copies:
     All Counsel of Record




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